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              State of Tennessee v. Amanda C. Andrews, AKA Amanda C. PerkinsonM2018-00253-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Cheryl A. BlackburnPursuant to a plea agreement, Amanda C. Andrews (“Defendant”) pled guilty to five counts of aggravated burglary and was sentenced to fifteen years as a persistent offender with the manner of service to be determined by the trial court. Following a sentencing hearing, the trial court ordered Defendant to serve her sentence in the Department of Correction. Defendant claims the trial court erred by sentencing her to serve her sentence in the Department of Correction. Discerning no error, we affirm the judgments of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              07/30/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. James P. JonesM2017-01790-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Dee David GayJames P. Jones, Defendant, was convicted of several counts of theft and aggravated burglary. The trial court sentenced Defendant to a twelve-year probationary sentence. A violation of probation warrant was later issued against Defendant. After a hearing, the trial court revoked Defendant’s probation. Defendant now timely appeals the trial court’s decision and argues that he was denied the right to counsel during the revocation hearing. Because we conclude that Defendant did not effectively waive or forfeit his right to counsel, we reverse the judgment of the trial court and remand this case for appointment of counsel and a new probation revocation hearing.            
                      
              Sumner County            
                      
              Court of Criminal Appeals             
                      
              07/30/18            
                      
                          
                      
                          
                  
                        
                      
              Tyler James Reed v. State of TennesseeM2017-00480-CCA-R3-PCAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Dee David GayTyler James Reed, the Petitioner, was convicted of first degree felony murder in the perpetration of a burglary, aggravated burglary, and employment of a firearm with intent to go armed during the commission of a dangerous felony. After this court affirmed his convictions on direct appeal and the Tennessee Supreme Court denied further review, the Petitioner filed a petition forpost-conviction relief. The post-conviction court denied relief. On appeal, the Petitioner argues that he received ineffective assistance of counsel from lead trial counsel and appellate counsel. He asserts that lead trial counsel convinced him to offer a false proffer to the State, which foreclosed him from testifying at trial, and failed to investigate his mental health and voluntary intoxication at the time of the offenses. He additionally asserts that appellate counsel failed to file a petition to rehear after this court did not specifically discuss several issues raised in his direct appeal. After a thorough review of the facts and applicable case law, we affirm the judgment of the post-conviction court.            
                      
              Sumner County            
                      
              Court of Criminal Appeals             
                      
              07/30/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Santory Alexander JohnsonE2017-00361-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Thomas C. GreenholtzThe Defendant, Santory Alexander Johnson, was convicted by a jury of one count of second degree murder. On appeal, the Defendant contends that (1) the trial court erred in failing to declare a mistrial or issue an adequate curative instruction following prosecutorial misconduct during closing arguments; (2) the trial court erred in allowing a witness to testify about statements made by the victim; (3) the trial court erred in allowing a redacted convenience store video to be entered into evidence; (4) the trial court erred in re-playing a 9-1-1 recording already admitted into evidence; (5) the trial court erred in allowing inflammatory autopsy photographs to be entered as evidence; (6) the cumulative effect of these evidentiary errors was not harmless; and (7) the trial court erred in failing to properly consider mitigating factors at the Defendant’s sentencing hearing.1 Following our review, the judgments of the trial court are affirmed.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              07/27/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Amanda A. Tucker E2017-01283-CCA-R3-CDAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Lisa RiceThe Defendant, Amanda A. Tucker, pleaded guilty in the Washington County Criminal Court to driving under the influence of an intoxicant (DUI). See T.C.A. § 55-10-401 (2017). The Defendant reserved a certified question of law regarding the arresting officer’s encounter with and subsequent seizure of the Defendant, which she presents on appeal. We affirm the judgment of the trial court.            
                      
              Washington County            
                      
              Court of Criminal Appeals             
                      
              07/27/18            
                      
                          
                      
                          
                  
                        
                      
              Marlon Duane Kiser v. State of TennesseeE2016-02359-CCA-R3-ECNAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Don W. PooleThe Petitioner, Marlon Duane Kiser, filed in the Hamilton County Criminal Court a petition for a writ of error coram nobis, seeking relief from his conviction of first degree murder and resulting sentence of death. In the petition, he alleged that newly discovered evidence and recanted testimony established that someone else committed the murder. The coram nobis court denied the petition. On appeal, the Petitioner challenges the court’s ruling. Upon review, we affirm the judgment of the coram nobis court.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              07/26/18            
                      
                          
                      
                          
                  
                        
                      
              Donald K. Moore, Jr. v. Grady Perry, WardenW2017-02180-CCA-R3-HCAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge Joe H. Walker, IIIThe Petitioner, Donald K. Moore, Jr., was convicted of two murders and a robbery&nbsp;committed in February 1996. For these convictions, he received an effective sentence of life imprisonment plus forty-one years in the Tennessee Department of Correction. In August 2017, the Petitioner filed a petition for a writ of habeas corpus. In it, he claimed that the trial court improperly adjusted his release eligibility percentage for his seconddegree murder conviction in 1999 by filing a corrected judgment. He further asserted that the trial court violated due process when it corrected the judgment without notice to him. Finally, relying on Miller v. Alabama, 132 S. Ct. 2455 (2012), he contended that his sentence was cruel and unusual because he was a juvenile at the time he committed the offenses. Finding no grounds for relief, the habeas corpus court summarily dismissed the petition. On appeal, the Petitioner maintains that his sentence is void because: (1) the trial court corrected his judgment to reflect the proper release eligibility; (2) the trial court did not follow proper sentencing procedure when it corrected the judgment without notice to him; (3) his sentence is unconstitutional because he was a juvenile at the time he committed the offense; and (4) the corrected judgment violated double jeopardy. After review, we affirm the habeas court’s judgment.            
                      
              Hardeman County            
                      
              Court of Criminal Appeals             
                      
              07/26/18            
                      
                          
                      
                          
                  
                        
                      
              Stephen D. Lester, Sr. v. State of TennesseeE2017-01437-CCA-R3-PCAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Don W. PooleThe Petitioner, Stephen D. Lester, Sr., appeals the post-conviction court’s dismissal of his petition for post-conviction relief as untimely. On appeal, he argues that due process requires tolling of the statute of limitations because his untimely filing was due to misrepresentations by trial counsel. After review, we affirm the dismissal of the petition.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              07/26/18            
                      
                          
                      
                          
                  
                        
                      
              Michael Davis v. State of TennesseeW2017-01592-CCA-R3-PCAuthoring Judge: JudgeTimothy L. EasterTrial Court Judge: Judge James M. LammeyPetitioner, Michael Davis, appeals the denial of his petition for post-conviction relief from his conviction for second degree murder. On appeal, Petitioner argues that he was denied due process of law when the post-conviction court refused to grant Petitioner a continuance to present an expert witness and failed to address all of the issues presented in its written order. Additionally, Petitioner claims that he received ineffective assistance of counsel. After thorough review, we determine that Petitioner was afforded due process and received effective assistance of counsel. Thus, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              07/26/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. James Douglas Hamm, Jr.E2016-02265-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Lisa D. RiceThe defendant, James Douglas Hamm, Jr., appeals his Sullivan County Criminal Court jury convictions of vehicular homicide by intoxication, leaving the scene of an accident involving a death, reckless endangerment, driving under the influence, failure to exercise due care, and running a red light, challenging the trial court’s denial of both his motion to dismiss based upon the failure to preserve certain evidence and his motion for a mistrial premised on juror bias. In addition, the defendant claims that the prosecutor’s closing argument was improper and that the evidence was insufficient to support his convictions of vehicular homicide and reckless endangerment. Discerning no error, we affirm.            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              07/26/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Bradley Mitchell EckertE2017-01635-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge Andrew M. FreibergThe Defendant, Bradley Mitchell Eckert, committed three acts of vandalism and one burglary when he was sixteen years old, and the juvenile court granted a motion to transfer the proceedings to criminal court. The trial court found the Defendant guilty of vandalism of property valued at more than $1,000 but less than $2,500; vandalism of property valued at $10,000 or more but less than $60,000; vandalism of property valued at $60,000 or more but less than $250,000; and burglary. After a hearing, the trial court sentenced the Defendant to serve twelve years in prison. The Defendant appeals the juvenile court’s decision to transfer the proceedings, and he appeals his sentence. We conclude that there was no abuse of discretion, and we affirm the judgments.            
                      
              McMinn County            
                      
              Court of Criminal Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              Richard Kelley v. State of TennesseeM2017-01157-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Jill Bartee AyersThe Petitioner, Richard Kelley, appeals the Montgomery County Circuit Court’s denial of his petition for post-conviction relief from his convictions of four counts of rape of a child, three counts of aggravated sexual battery, and one count of misdemeanor assault and resulting effective sentence of thirty years to be served at 100%. On appeal, the Petitioner contends that he received the ineffective assistance of counsel at trial. Based upon the record and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              07/25/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Matthew P. LadewigW2017-02100-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Donald H. AllenThe Defendant, Matthew P. Ladewig, appeals as of right from the Madison County Circuit Court’s judgment of conviction of theft over $500. On appeal, the Defendant contends that the trial court abused its discretion in denying his motion for mistrial after a witness for the prosecution, while testifying, referred to the Defendant’s possible involvement in a similar investigation. Following our review, we affirm the judgment of the trial court.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Alina SherlinE2017-01225-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Andrew M. FreibergDefendant, Alina Frankie Sherlin, was indicted for first degree murder. After a jury trial, she was found guilty of second degree murder and sentenced to fifteen years in incarceration. The trial court denied the motion for new trial, and Defendant appealed to this Court. On appeal, Defendant raises the following issues for our review: (1) whether the trial court erred by admitting a videotape from the ambulance ride depicting Defendant’s actions after the incident; (2) whether the trial court erred by admitting the preliminary hearing testimony of a witness that the trial court deemed unavailable; (3) whether the trial court erred by permitting the State to call a surprise witness; (4) whether the trial court erred by excluding testimony about the victim’s motorcycle gang membership; (5) whether the trial court erred by prohibiting Defendant from introducing nude photographs and sexual videos of a witness for impeachment purposes; (6) whether the trial court properly excluded testimony regarding a threat made by the victim toward Defendant; (7) whether the trial court erred by excluding Defendant’s medical records; (8) whether the trial court erred by refusing to allow defense counsel to point out specific areas of photographs that were discussed during the videotaped deposition of the unavailable witness; (9) whether the trial court erred by refusing to grant Defendant’s motion for judgment of acquittal at the close of the State’s proof; (10) whether the State committed prosecutorial misconduct during opening and closing statements (11) whether the evidence was sufficient to support the conviction ; and (12) whether cumulative error by the trial court necessitates a reversal of Defendant’s conviction. For the following reasons, the judgment of the trial court is affirmed.            
                      
              Bradley County            
                      
              Court of Criminal Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              In re: Cumberland Bail Bonding, et alM2017-01171-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: A bondsman for Appellant Cumberland Bail Bonding (“Cumberland”) was arrested after law enforcement determined that he was trading bonds for sex. A panel of circuit court judges entered a sua sponte order suspending Cumberland’s authority as a bonding company in Marion County and a subsequent order suspending the authority of A Bail Bonding Company (“A Bail Bonding”) and A+ Bail Bonding, whose proprietor was also the owner of Cumberland. After a hearing, the trial court determined that the bondsman engaged in professional misconduct, that Cumberland did not explicitly prohibit the misconduct in its employee manual, and that Cumberland failed to notify the court of the bondsman’s arrest. The bonding privileges of all three Appellants were suspended for a period of six months. The Appellants challenge the suspension, asserting that they were denied their due process rights and that the trial court erred in suspending their bail bonding authority. The State responds that the appeal is moot but that there was in any event no error. We have addressed the underlying issues and have determined that the trial court’s actions were in error. Accordingly, the judgment of the trial court is vacated.            
                      
              Franklin County            
                      
              Court of Criminal Appeals             
                      
              07/24/18            
                      
                          
                      
                          
                  
                        
                      
              Bashan Murchison v. State of TennesseeE2017-02143-CCA-R3-PCAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge James F. Goodwin, Jr.A Sullivan County jury convicted the Petitioner, Bashan Murchison, of nine counts of felony drug offenses. The trial court imposed an effective sentence of fifty years in the Tennessee Department of Correction. On appeal, this court affirmed the judgments and sentence. See State v. Bashan Murchison, No. E2014-01250-CCA-R3-CD, 2016 WL 659844 (Tenn. Crim. App., at Knoxville, Feb. 12, 2016), perm. app. denied (Tenn. Aug. 18, 2016). The Petitioner filed a post-conviction petition claiming that he had received the ineffective assistance of counsel, and the post-conviction court denied relief following a hearing. On appeal, the Petitioner maintains that his counsel was ineffective. After review, we affirm the post-conviction court’s judgment.            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Tyrail Jermaine CookeE2017-00781-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Scott GreenAggrieved of his convictions of reckless homicide and aggravated child abuse, the defendant, Tyrail Jermaine Cooke, appeals. In this appeal, the defendant argues that the trial court erred by refusing to suppress the entirety of his pretrial statement to the police; that the trial court erred by admitting into evidence the video recording of his pretrial statement; that the trial court erred by admitting into evidence photographs, testimony, and other evidence relating to bruising in the victim’s genital area and a hole in the wall in the closet of the defendant’s residence; that the trial court erred by refusing to grant the defendant’s request for a special jury instruction regarding the right of parents to use corporal punishment to discipline their children; that the trial court erred by denying his motion for a mistrial based upon the prosecutor’s improper comment on the defendant’s right to remain silent during his closing argument; that the evidence was insufficient to support his convictions; that the 29-year effective sentence is excessive; and that the cumulative effect of the errors deprived him of the constitutional right to a fair trial. Because we discern no reversible error, we affirm the judgments of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Larry Allen StumboE2017-01405-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge R.Jerry  BeckA Sullivan County jury convicted the Defendant, Larry Allen Stumbo, of especially aggravated kidnapping, aggravated rape, aggravated robbery, aggravated burglary, employing a firearm during the commission of a dangerous felony, evading arrest, and possession of a handgun by a convicted felon. The trial court sentenced the Defendant to an effective sixty-year sentence. On appeal, the Defendant contends that: (1) the trial court erred when it denied his motion for substitution of counsel; (2) the evidence is insufficient to support his convictions; (3) the trial court erred when it sentenced him; and (4) no hearing was held as required by T.C.A. § 39-17-1324 to determine the existence of a prior qualifying felony conviction to sustain the Defendant’s conviction for possession of a handgun by a convicted felon. After a thorough review of the record and applicable authorities, we affirm the trial court’s judgments of conviction. We affirm the Defendant’s sentences for all the convictions except employing a firearm during the commission of a dangerous felony. For reasons contained herein, we vacate the sentence for the employing a firearm during the commission of a dangerous felony conviction and remand the case to the trial court for resentencing on that count.            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Bryant Eugene Page, Jr.E2017-01344-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge G. Scott GreenThe Defendant, Bryant Eugene Page, Jr., pleaded guilty to aggravated assault, a Class C felony, as a Range III offender, with an agreed sentence of twelve years, but with a Range II release eligibility of 35% rather than a Range III release eligibility of 45%. More than a year later, the Defendant filed a motion to reduce his sentence, asking the trial court for a sentence of six years, at 35%, arguing that his sentence was not in range. The trial court summarily dismissed his motion. On appeal, the Defendant contends that the trial court erred when the trial court did not reduce his sentence because: (1) his motion was timely but the court clerk refused to file his motion; (2) his sentence is illegal because it is out of range. After review, we affirm the trial court’s judgment.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Melvin Dwayne Dunn, Jr.E2017-00911-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge G. Scott GreenThe Defendant, Melvin Dwayne Dunn, Jr., was convicted by a jury of nine counts of burglary; one count of attempted theft of property valued at $10,000 or more but less than $60,000; one count of evading arrest; and one count of possession of burglary tools. He was sentenced as a career offender and received an effective sentence of thirty-six years’ imprisonment. On appeal, the Defendant challenges the sufficiency of the evidence to sustain his attempted theft conviction. He also argues that the trial court erred in admitting statements made by the Defendant during bond negotiations. After thorough review of the record and applicable law, we affirm the judgments of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              Michael White v. State of TennesseeM2017-02039-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Lee RussellThe defendant, Michael White, appeals the denial of his motion, filed pursuant to Tennessee Rule of Criminal Procedure 36.1, to correct what he believes to be an illegal sentence imposed for his 2005 Marshall County Circuit Court jury convictions of rape. Discerning no error, we affirm the denial of relief.            
                      
              Marshall County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Mardoche OlivierM2017-01618-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Jill Bartee AyersThe Defendant, Mardoche Olivier, was convicted by a jury of one count of evading arrest while operating a motor vehicle, a Class E felony. On appeal, the Defendant challenges the sufficiency of the evidence supporting his conviction, arguing that there was insufficient evidence that he “received any signal” from law enforcement “while operating a motor vehicle” to bring that vehicle to a stop or that he “intentionally fle[d] or attempt[ed] to elude” either officer. Following our review, we affirm the judgment of the trial court.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Rebecca Michelle Spears, AliasE2017-01836-CCA-R9-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Steven Wayne SwordDefendant, Rebecca Michelle Spears, appeals after the trial court granted the State’s motion to disqualify trial counsel on the basis that trial counsel was a necessary witness. Because we determine that trial counsel was a necessary witness and any testimony given by trial counsel would be related to contested issues, we affirm the judgment of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              07/23/18            
                      
                          
                      
                          
                  
                        
                      
              John R. Jackson v. State of TennesseeM2017-00787-CCA-R3-PCAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge William R. Goodman, IIIA Montgomery County jury convicted the Petitioner, John R. Jackson, of two counts of facilitation of aggravated robbery, one count of aggravated burglary, one count of facilitation of theft of property valued over $500, and one count of aggravated sexual battery. The trial court imposed a total effective sentence of twenty years in the Tennessee Department of Correction. On appeal, this court affirmed the judgments and sentence. See State v. John R. Jackson, No. M2013-00696-CCA-R3-CD, 2014 WL 2039761 (Tenn. Crim. App., at Nashville, May 16, 2014), perm. app. denied (Tenn. Sept. 22, 2014). The Petitioner filed a post-conviction petition, and the post-conviction court denied relief following a hearing. On appeal, the Petitioner maintains that he received the ineffective assistance of counsel, his convictions are based on illegal evidence presented at trial, and the State committed prosecutorial misconduct during opening and closing statements. After review, we affirm the post-conviction court’s judgment.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              07/20/18            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Michael Lee HoganM2017-01115-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge David WolfeA Dickson County jury convicted the Defendant, Michael Lee Hogan, of two counts of the sale of cocaine, one count of the sale of less than .5 grams of cocaine and one count of the sale of more than .5 grams of cocaine. The trial court sentenced the Defendant as a Career Offender to an effective sentence of forty-five years of incarceration. On appeal, the Defendant contends: (1) the trial court erred when it failed to instruct the jury on the lesser-included offense of casual exchange; and (2) the trial court erred when it sentenced him. After review, we affirm the trial court’s judgments.            
                      
              Dickson County            
                      
              Court of Criminal Appeals             
                      
              07/20/18            
                      
                          
                      
                          
                  
            


      
    
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